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 8
                               UNITED STATES DISTRICT COURT
 9                            CENTRAL DISTRICT OF CALIFORNIA
10
11     Brian Whitaker,                                Case No.

12               Plaintiff,
                                                      Complaint For Damages And
13       v.                                           Injunctive Relief For Violations
                                                      Of: American’s With Disabilities
14     Art's Delicatessen, Inc., a                    Act; Unruh Civil Rights Act
       California Corporation; and Does 1-
15     10,

16               Defendants.

17
18         Plaintiff Brian Whitaker complains of Art's Delicatessen, Inc., a

19   California Corporation; and Does 1-10 (“Defendants”), and alleges as follows:

20
21
       PARTIES:
22
       1. Plaintiff is a California resident with physical disabilities. He is
23
     substantially limited in his ability to walk. He suffers from a C-4 spinal cord
24
     injury. He is a quadriplegic. He uses a wheelchair for mobility.
25
       2. Defendant Art's Delicatessen, Inc. owned Arts Delicatessen located at
26
     or about 12224 Ventura Blvd., Studio City, California, in October 2019.
27
       3. Defendant           Art's   Delicatessen,   Inc.   owns   Arts   Delicatessen
28
     (“Restaurant”) located at or about 12224 Ventura Blvd., Studio City,

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 1   California, currently.
 2     4. Plaintiff does not know the true names of Defendants, their business
 3   capacities, their ownership connection to the property and business, or their
 4   relative responsibilities in causing the access violations herein complained of,
 5   and alleges a joint venture and common enterprise by all such Defendants.
 6   Plaintiff is informed and believes that each of the Defendants herein,
 7   including Does 1 through 10, inclusive, is responsible in some capacity for the
 8   events herein alleged, or is a necessary party for obtaining appropriate relief.
 9   Plaintiff will seek leave to amend when the true names, capacities,
10   connections, and responsibilities of the Defendants and Does 1 through 10,
11   inclusive, are ascertained.
12
13     JURISDICTION & VENUE:
14     5. The Court has subject matter jurisdiction over the action pursuant to 28
15   U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with
16   Disabilities Act of 1990, 42 U.S.C. § 12101, et seq.
17     6. Pursuant to supplemental jurisdiction, an attendant and related cause
18   of action, arising from the same nucleus of operative facts and arising out of
19   the same transactions, is also brought under California’s Unruh Civil Rights
20   Act, which act expressly incorporates the Americans with Disabilities Act.
21     7. Venue is proper in this court pursuant to 28 U.S.C. § 1391(b) and is
22   founded on the fact that the real property which is the subject of this action is
23   located in this district and that Plaintiff's cause of action arose in this district.
24
25     FACTUAL ALLEGATIONS:
26     8. Plaintiff went to the Restaurant in October 2019 with the intention to
27   avail himself of its goods, motivated in part to determine if the defendants
28   comply with the disability access laws.


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 1     9. The Restaurant is a facility open to the public, a place of public
 2   accommodation, and a business establishment.
 3     10. Unfortunately, on the date of the plaintiff’s visit, the defendants failed
 4   to provide accessible dining surfaces.
 5     11. On information and belief, the defendants currently fail to provide
 6   accessible dining surfaces.
 7     12. Plaintiff personally encountered these barriers.
 8     13. By failing to provide accessible facilities, the defendants denied the
 9   plaintiff full and equal access.
10     14. The failure to provide accessible facilities created difficulty and
11   discomfort for the Plaintiff.
12     15. Even though the plaintiff did not confront the barrier, on information
13   and belief, the defendants currently fail to provide accessible restrooms.
14     16. The defendants have failed to maintain in working and useable
15   conditions those features required to provide ready access to persons with
16   disabilities.
17     17. The barriers identified above are easily removed without much
18   difficulty or expense. They are the types of barriers identified by the
19   Department of Justice as presumably readily achievable to remove and, in fact,
20   these barriers are readily achievable to remove. Moreover, there are numerous
21   alternative accommodations that could be made to provide a greater level of
22   access if complete removal were not achievable.
23     18. Plaintiff will return to the Restaurant to avail himself of its goods and to
24   determine compliance with the disability access laws once it is represented to
25   him that the Restaurant and its facilities are accessible. Plaintiff is currently
26   deterred from doing so because of his knowledge of the existing barriers and
27   his uncertainty about the existence of yet other barriers on the site. If the
28   barriers are not removed, the plaintiff will face unlawful and discriminatory


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 1   barriers again.
 2     19. Given the obvious and blatant nature of the barriers and violations
 3   alleged herein, the plaintiff alleges, on information and belief, that there are
 4   other violations and barriers on the site that relate to his disability. Plaintiff will
 5   amend the complaint, to provide proper notice regarding the scope of this
 6   lawsuit, once he conducts a site inspection. However, please be on notice that
 7   the plaintiff seeks to have all barriers related to his disability remedied. See
 8   Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008) (holding that once a plaintiff
 9   encounters one barrier at a site, he can sue to have all barriers that relate to his
10   disability removed regardless of whether he personally encountered them).
11
12   I. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
13   WITH DISABILITIES ACT OF 1990 (On behalf of Plaintiff and against all
14   Defendants.) (42 U.S.C. section 12101, et seq.)
15     20. Plaintiff re-pleads and incorporates by reference, as if fully set forth
16   again herein, the allegations contained in all prior paragraphs of this
17   complaint.
18     21. Under the ADA, it is an act of discrimination to fail to ensure that the
19   privileges, advantages, accommodations, facilities, goods and services of any
20   place of public accommodation is offered on a full and equal basis by anyone
21   who owns, leases, or operates a place of public accommodation. See 42 U.S.C.
22   § 12182(a). Discrimination is defined, inter alia, as follows:
23             a. A failure to make reasonable modifications in policies, practices,
24                or procedures, when such modifications are necessary to afford
25                goods,     services,     facilities,   privileges,    advantages,      or
26                accommodations to individuals with disabilities, unless the
27                accommodation would work a fundamental alteration of those
28                services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).


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 1            b. A failure to remove architectural barriers where such removal is
 2                readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
 3                defined by reference to the ADA Standards.
 4            c. A failure to make alterations in such a manner that, to the
 5                maximum extent feasible, the altered portions of the facility are
 6                readily accessible to and usable by individuals with disabilities,
 7                including individuals who use wheelchairs or to ensure that, to the
 8                maximum extent feasible, the path of travel to the altered area and
 9                the bathrooms, telephones, and drinking fountains serving the
10                altered area, are readily accessible to and usable by individuals
11                with disabilities. 42 U.S.C. § 12183(a)(2).
12     22. When a business provides facilities such as dining surfaces, it must
13   provide accessible dining surfaces.
14     23. Here, accessible dining surfaces have not been provided.
15     24. When a business provides facilities such as restrooms, it must provide
16   accessible restrooms.
17     25. Here, accessible restrooms have not been provided.
18     26. The Safe Harbor provisions of the 2010 Standards are not applicable
19   here because the conditions challenged in this lawsuit do not comply with the
20   1991 Standards.
21     27. A public accommodation must maintain in operable working condition
22   those features of its facilities and equipment that are required to be readily
23   accessible to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
24     28. Here, the failure to ensure that the accessible facilities were available
25   and ready to be used by the plaintiff is a violation of the law.
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 1   II. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH CIVIL
 2   RIGHTS ACT (On behalf of Plaintiff and against all Defendants.) (Cal. Civ.
 3   Code § 51-53.)
 4      29. Plaintiff repleads and incorporates by reference, as if fully set forth
 5   again herein, the allegations contained in all prior paragraphs of this
 6   complaint. The Unruh Civil Rights Act (“Unruh Act”) guarantees, inter alia,
 7   that persons with disabilities are entitled to full and equal accommodations,
 8   advantages, facilities, privileges, or services in all business establishment of
 9   every kind whatsoever within the jurisdiction of the State of California. Cal.
10   Civ. Code §51(b).
11      30. The Unruh Act provides that a violation of the ADA is a violation of the
12   Unruh Act. Cal. Civ. Code, § 51(f).
13      31. Defendants’ acts and omissions, as herein alleged, have violated the
14   Unruh Act by, inter alia, denying, or aiding, or inciting the denial of, Plaintiff’s
15   rights to full and equal use of the accommodations, advantages, facilities,
16   privileges, or services offered.
17      32. Because the violation of the Unruh Civil Rights Act resulted in difficulty,
18   discomfort or embarrassment for the plaintiff, the defendants are also each
19   responsible for statutory damages, i.e., a civil penalty. (Civ. Code § 55.56(a)-
20   (c).)
21
22             PRAYER:
23             Wherefore, Plaintiff prays that this Court award damages and provide
24   relief as follows:
25           1. For injunctive relief, compelling Defendants to comply with the
26   Americans with Disabilities Act and the Unruh Civil Rights Act. Note: the
27   plaintiff is not invoking section 55 of the California Civil Code and is not
28   seeking injunctive relief under the Disabled Persons Act at all.


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 1      2. Damages under the Unruh Civil Rights Act, which provides for actual
 2   damages and a statutory minimum of $4,000 for each offense.
 3      3. Reasonable attorney fees, litigation expenses and costs of suit, pursuant
 4   to 42 U.S.C. § 12205; and Cal. Civ. Code §§ 52.
 5
     Dated: November 5, 2019         CENTER FOR DISABILITY ACCESS
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 7
                                     By:
 8
                                     ______________________________
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                                            Russell Handy, Esq.
10                                          Attorney for plaintiff
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